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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

 

United States of America,
Plaintiff,
Vv.
Shaun Bridges,

Defendant.

 

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MOVANT SHAUN BRIDGES’ REPLY TO GOVERNMENT’S
OPPOSITION PAPERS TO MOVANT’S 28 U.S.C. 2255 MOTION

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Cases

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I. INTRODUCTION

Movant Shaun Bridges (“Movant”) filed a motion, pursuant to 28 U.S.C. §2255, to
vacate his sentence and waiver of indictment on the grounds that his Fifth Amendment right to
Due Process of Law was violated, that the Court violated Rule 11 of the Federal Rules of
Criminal Procedure, that Movant received ineffective assistance of both trial and appellate
counsel, and that his Waiver of Indictment (Document Number 169-5 Herein) was not
knowingly and voluntarily entered into. Movant’s motion was based upon the fact that he was
incorrectly informed of the statutory maximum potential term of imprisonment for his conviction
of money laundering, the first count of the two-count information (“Information,” Document
Number 169-4 Herein) to which he pled guilty on August 31, 2015. Movant was similarly
misinformed in his negotiated Plea Agreement (Document Number 169-3 Herein), at his August
31, 2015 arraignment on the Information (minutes of which are Document Number 169-6
Herein), later that same day during his guilty plea allocution (minutes of which are Document
169-7 Herein), on the first page of his Presentence Report (“PSR”) (Document Number 169-8
Herein), and in the June 16, 2015 Defendant Information Relative to a Criminal Action
(Document 169-9 Herein). The government timely responded on July 12, 2018 (Document
Number 171 Herein) (“Gov. Opp.”). This is Movant’s reply brief.

Il. THE GOVERNMENT’S ARGUMENT IN OPPOSITION

In the Gov. Opp., the government, referring to the repeated misinformation as a
“typographical error,” see Gov. Opp., Page 1, Line 9, Page 4, Line 4, Page 5, Line 1, argues that
Movant waived his right of collateral attack and that all claims, other than ineffective assistance
of counsel, are therefore precluded. See Gov. Opp., Page 4, Lines 12 through 15. The

government next argues that Movant's trial counsel was effective because counsel secured a plea

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agreement allowing Movant to plead to 18 U.S.C. §1957, instead of 18 U.S.C. §1956, thereby
securing a Sentencing Guidelines (the “Guidelines”) benefit. The government concluded by
dismissing Movant’s Due Process and Rule 11 claims by arguing that the government intended
to perform its bargain, only trial counsel’s misrepresentations can lead to a Due Process
violation, that “[u]ncertainty ‘is the linchpin of every plea bargain,” Gov. Opp., Pages 12 and
13, Lines 25 through 26, and that the repeated misinformation was neither a structural nor plain
error. See Gov. Opp., Pages 11 through 12, Lines 7 through 23.
Ill. MOVANT’S REPLY
A. Movant did not lawfully waive his statutory right of collateral attack

The government’s argument that Movant waived his statutory right of collateral
attack is circular, in that it ignores the fact that any waiver of a statutory right must itself be
entered into knowingly and voluntarily. See United States v. Abarca, 985 F.2d 1012, 1014 (9%
Cir. 1993), citing Abney v. United States, 431 U.S. 651, 52 L. Ed. 2d 651, 97 S. Ct. 2034 (1977);
see also Davies v. Benov, 856 F.3d 1243, 1246 (9" Cir. 2017), citing United States v. Jeronimo,
398 F.3d 1149, 1153 (9% Cir. 2005) (“Waivers of appeal must stand or fall with the agreement of
which they are a part. If the agreement is voluntary, and taken in compliance with Rule 11, then
the waiver of appeal must be honored. If the agreement is involuntary or otherwise
unenforceable, then the defendant is entitled to appeal,” 398 F.3d at 1154), overruled on other
grounds by United States v. Castillo, 496 F.3d 947, 957 (9% Cir. 2007) (en banc); see also United
States v. Portillo-Cano, 192 F.3d 1246, 1252 (9% Cir. 1999). Ninth Circuit law in this area
follows directly from the fact that plea agreements are governed by basic contract law principles,

including the fact that contracts must be entered into knowingly and voluntarily.

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As described in Movant's June 12 Memorandum of Law (Document Number 169-1
Herein), Movant did not enter into the Plea Agreement, including the waiver of his statutory
right of collateral attack, in a knowing and voluntary fashion. See Movant’s June 12, 2018
Memorandum of Law, Pages 17 through 19. See United States v. Barron, 172 F.3d 1153, 1165
(9 Cir. 1999) (Graber, J., dissenting) (waiver “cannot be half voluntary and half involuntary;
half knowing and half unknowing; half constitutional and half unconstitutional”). As Movant
was induced to enter into the Plea Agreement, including the waiver of his right to collaterally
attack his conviction, by repeated written and oral misrepresentations by the government, the
Department of Probation and the Court, the entire Plea Agreement, including his waiver of
indictment and his waiver of his right of collateral attack, must fall.

B. The Government’s Due Process and Rule 11 Analyses are Flawed

1. Due Process

The government acknowledges, as it must, that plea agreements must be entered into
knowingly and voluntarily. See Gov. Opp., Page 12, Line 25. “[TJhe record must affirmatively
disclose that a defendant who pleaded guilty entered his plea understandingly and voluntarily.”
Brady y. United States, 397 U.S. 742, 747 n.4 (1970), citing Boykin v. Alabama, 395 U.S. 238,
242 (1969); see also United States v. Ruiz, 536 U.S. 622, 629 (2002) (“Given the seriousness of
the matter, the Constitution insists, among other things, that the defendant enter a guilty plea that
is ‘voluntary’ and that the defendant must make related waivers ‘knowingly, intelligently, [and]
with sufficient awareness of the relevant circumstances and likely consequences”) (emphasis
added), citing Brady, supra., 397 U.S. at 748 and Boykin, supra.

The government’s Due Process argument rests on Movant’s purported failure to

demonstrate either that counsel’s misrepresentation was knowing or that counsel misrepresented -

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the sentence that Movant would actually receive. See Gov. Opp., Page 12, Line 26 and Page 13,
Line 3. The government’s argument misses the mark, as Movant does not, in the first instance,
rely on a claim that his trial counsel misrepresented anything to him regarding the maximum
sentence. Indeed, Movant’s Declaration, submitted in support of the instant motion, clearly
states that his trial counsel “never informed [him] of the correct statutory maximum term of
imprisonment for the money laundering count.” Movant’s May 25, 2018 Declaration, Document
Number 169-11 herein, Page 1, Paragraph 2. Likewise, Movant’s trial counsel, Steven H. Levin,
Esq., filed a Declaration in support of Movant’s motion in which Mr. Levin acknowledged that
he has “no specific recollection of informing [Movant] that the statutory maximum potential
term of imprisonment for his money laundering conviction for Title 18 U.S.C. Section 1957 was
ten years.” May 14, 2018 Declaration of Steven Levin, Esq., Document 169-12 herein, Page 1,
Paragraph 2. It is the government’s, Department of Probation’s, and the Court’s misstatements
which form the basis of Movant’s Due Process challenge.

“[A] plea is void if it is ‘induced by promises or threats which deprive it of the nature
of a voluntary act.’” Iaea v. Sunn, 800 F.2d 861, 866 (9" Cir. 1986), quoting Marchibroda v.
United States, 368 U.S. 487, 493 (1962). The Ninth Circuit has recognized that “a plea is
‘unintelligent’ if the defendant is without the information necessary to assess intelligently “the
advantages and disadvantages of a trial as compared with those attending a plea of guilty.’”
United States v. Hernandez, 203 F.3d 614, 619 (9 Cir. 2000), quoting Hill v. Lockhart, 474 US.
52, 56 (1985). “A plea must ‘constitute a deliberate, intelligent choice between available
alternatives’ in order to be knowingly and intelligently made.” United States v. Gigot, 147 F.3d

1193, 1199 (10% Cir. 1998) (Defendant advised that her maximum potential term of

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imprisonment was 30 years, when in fact she faced only a maximum of five years), citing United
States v. Rhodes, 913 F.2d 839, 843 (10® Cir. 1990).

The government next discusses the Plea Agreement’s suggested Guidelines’ range of
imprisonment, whether the Court was bound by the Plea Agreement in this respect, and whether
the Court could sentence Movant to a term of imprisonment outside of the Plea Agreement’s
proposed range.'! See Gov. Opp., Page 13, Lines 11 through 17 and Lines 24 and 25. Here, the
government’s argument entirely misses the mark. The instant motion does not address the
Guidelines, at any level. Instead, Movant simply entered into the Plea Agreement involuntarily
and unknowingly because he was concerned about the possibility of a 20-year sentence for
money laundering, when such a sentence could not, in fact, have been imposed.

2. Rule 11

In making its argument that Rule 11 of the Federal Rules of Criminal Procedure was —
not violated in Movant’s matter, the government acknowledges, as it must, that Movant’s guilty .
plea must have been voluntary and that Movant can collaterally attack his plea and sentence
where he “was not fully apprised of [the plea’s] consequences.” See Gov. Opp., Page 11, Lines 7
through 10, citing Mabry v. Johnson, 467 U.S. 504, 508-09 (1984). The government
acknowledges that the plain language of plea agreements, including waivers of appeal, is
generally enforced. See id., Lines 11 through 16 (emphasis added). The government then
attempts to avoid the natural consequences of the implied exceptions to this rule by arguing that

Movant need not have possessed “complete knowledge of the relevant circumstances” and seeks

 

1 Tronically, the portions of the Plea Agreement the government cites here support Movant’s
application. After all, these provisions simply inform Movant that he could be sentenced up to
the statutory maximum for money laundering, or 20 years, as he was misinformed.

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to excuse what it euphemistically characterizes as the Movant’s “misapprehension” under the
circumstances presented here. See id., Lines 16 through 19.

The government is undoubtedly correct in these regards, but misapplies these
undeniable statements of law to the case at hand. Movant’s matter is a classic case of an
unenforceable Plea Agreement. Indeed, a portion of the Plea Agreement’s plain language to
which the government refers is the claim that Movant faced up to 20 years in prison as a result of
the Section 1957 money laundering conviction. See Plea Agreement, Document Numbered 169-
3 herein, Page 2, Line 19. It goes without saying that the government cannot claim that the Plea
Agreement’s plain language should “generally” be enforced in this regard. Similarly, the
government’s reliance on law that states that Movant can be under certain misapprehensions and
that he didn’t have to have complete knowledge of all of the relevant circumstances is misplaced
where, as here, Movant relied on repeated explicit written and oral misstatements of law
regarding one of the single-most important factors material to his plea-bargaining risk analysis.

The government remarkably follows this flawed argument with a claim that “Bridges’
motion first asserts that misstatement of the Sentencing Guidelines constitutes a structural error
in Rule 11 proceedings.” See Gov. Opp., Page 11, Lines 23 and 24 (emphasis added). The
government’s claim in this regard is simply false. A word search of Movant’s June 12, 2018
Memorandum of Law makes clear that not only were the Guidelines never mentioned, but the
words “sentencing” and “guidelines” were not used at any time. Hence, the government’s effort
to refute an argument that Movant never made should be seen for what it is — argument by
misdirection.

The government continues its diversionary Guidelines analysis by misstating the

facts, and Movant’s use, of Najera-Gordillo v. United States, 2009 U.S. Dist. LEXIS 82062. See

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id., Page 12, Lines 6 through 9. According to the government, Najera-Gordillo suggested that
“an overestimation of the Sentencing Guidelines had impacted defendant’s substantial rights.”
Id., at Lines 8 and 9. Like Movant’s Memorandum of Law, Najera-Gordillo never mentioned
the Guidelines. It is therefore difficult to understand to which “overestimation” the government
refers. While the defendant in Najera-Gordillo did claim that his counsel did not properly
inform him of the sentencing range that he faced, the Guidelines were never mentioned. See id.,
at *2. Indeed, as here, the operative fact in Najera-Gordillo was that the defendant had been
misadvised of the statutory maximum term of imprisonment, without reference to the Guidelines.
See id., at *3 and *4. The Najera-Gordillo defendant’s correct maximum term of imprisonment
was 40 years, but he was advised that the maximum was life, if convicted. See id. While it is
unclear why the government misstated Najera-Gordillo’s facts, it is clear that this misstatement’s
effect is to mislead the Court regarding the strength of Movant’s Rule 11 argument.

The government continues its misuse of caselaw by citing United States v. Timmreck,
441 U.S. 780, 782-83 (1979) (“[Rlespondent had not suffered any prejudice inasmuch as he had
received a sentence within the maximum described to him at the time the guilty plea was
accepted”). See Gov. Opp., Page 12, Lines 10 through 12. The Gov. Opp. fails to mention that
the language quoted from Timmreck in the Gov. Opp. is the Supreme Court’s summary of the
District Court’s decision in the Timmreck defendant’s 2255 motion. While the Supreme Court
ultimately upheld the defendant’s conviction in Timmreck, it did so because the trial court’s error
in Timmreck was to fail to inform the Defendant of “the mandatory special parole term of at least
3 years required by the applicable statute.” Timmreck, 441 U.S. at 782. The Court in Timmreck
relied on the fact that the district court’s failure in this regard was “neither constitutional nor

jurisdictional.” See id., at 783. The Timmreck Court further explained that no “claim reasonably

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[can] be made that the error here resulted in a ‘complete miscarriage of justice’ or in a
proceeding ‘inconsistent with the rudimentary demands of fair procedure.’” Id. at 784.
Similarly, the Timmreck Court explained that the defendant did “not argue that he was actually
unaware of the special parole term or that, if he had been properly advised by the trial judge, he
would not have pleaded guilty. His only claim is of a technical violation of Rule 11.” Jd. At
Timmreck’s conclusion, the Supreme Court stated that “we find it unnecessary to consider
whether § 2255 relief would be available if a violation of Rule 11 occurred in the context of
other aggravating circumstances.” Id., at 784-85 (emphasis added). Movant’s matter presents
such aggravating circumstances.

The government next cites dicta in United States v. Graibe, 946 F.2d 1428, 1433-34
(9% Cir. 1991) for the proposition that a Rule 11 violation is not fatal where “the record shows
that the defendant knew before pleading guilty that he could be sentenced to a term as long as the
one he actually received.” 946 F.2d at 1433, citing United States v. Sanclemente-Bejarano, 861
F.2d 206, 210 (9" Cir. 1988). While the government accurately quoted the language from both
Graibe and Sanclemente-Bejarano, it failed to explain that Sanclemente-Bejarano involved the
district court’s failure to properly adhere to Rule 11(c) of the Federal Rules of Criminal
Procedure. At the time of the Sanclemente-Bejarano decision, Rule 11(c) required that the court
“address the defendant .. . and inform the defendant of, and determine that the defendant
understands ... the effect of any special parole term." 861 F.2d at 210 (emphasis added). The
Court in Sanclemente “did not warn Sanclemente that he would be ineligible for parole, nor did it
explain to him the nature or effect of the term of supervised release.”

These facts are clearly distinguishable from those presented here, where the

government, the Department of Probation, and the Court all misinformed Movant of the

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maximum sentence he faced, by way of doubling his potential prison term exposure on the
money laundering count.” See also United States v. Gray, 581 F.3d 749, 754 (8® Cir. 2009)
(“Thus, the question is not whether [Movant] was sentenced within the range of which the court
did make him aware; rather, the question is, had [Movant] known of the full range to which he
could be sentenced, would he have pled guilty in the first place”).
Finally, the government correctly states that United States v. Barrios-Gutierrez, 255
F.3d 1024, 1027-28 (9% Cir. 2001) held that “Rule 11 does not require that the district court
announce authoritatively the actual maximum sentence at the plea-taking stage.” See Gov. Opp.,
Page 12, Lines 20 through 23. However, what the government fails to note is that in Barrios-
Gutierrez the district court correctly informed the defendant that the maximum sentence that he ~
faced was either two years, or 20 years, depending upon whether or not the government sought
the application of an available statutory enhancement. Under these unique circumstances, the
Ninth Circuit found that the defendant was aware of the two potential statutory maximum terms
of imprisonment. In the instant matter, Movant was never correctly informed of the statutory
maximum for money laundering. As a result, when he entered his plea of guilty, there was no
uncertainty as to what the correct statutory maximum term of imprisonment was. That figure
was 10 years. Movant was repeatedly informed otherwise to his detriment. Hence, his plea was
unknowing and involuntary and he should be allowed to withdraw his plea of guilty and his

waiver of indictment.

 

2 The government implies, in making these arguments, that Movant was not prejudiced herein
because (1) he received a sentence less than the 10 years he could have received for his money
laundering conviction, and (2) that his sentence of imprisonment fell within the Guidelines’
range of imprisonment for a conviction of 18 U.S.C. §1957. This argument is unavailing.
Movant’s prejudice resulted from his plea of guilty and his waiver of valuable constitutional
rights, not from the sentence that he ultimately received. See Kelsey v. United States, 484 F.2d
1198, 1200 (3% Cir. 1973).

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Here, Movant merely needs to establish “a reasonable probability that, but for the
error, he would not have entered the plea. A defendant must thus satisfy the judgment of the
reviewing court, informed by the entire record, that the probability of a different result is
‘sufficient to undermine confidence in the outcome’ of the proceeding.” United States v.
Dominguez Benitez, 542 U.S. 74, 83 (2004); see also Kyles v. Whitley, 514 U.S. 419, 434 (1995).
A reviewing court must look to the entire record to determine if the defendant was aware of the
necessary sentencing information to determine whether he or she entered into the guilty plea ina
knowing and voluntary fashion. See United States v. Leitch, 702 Fed. Appx. 557, 558 (9% Cir.
2017), see also United States v. Borowy, 595 F.3d 1045, 1050 (9* Cir. 2010); see also United
States y. Barrios-Gutierrez, supra., 255 F.3d at 1027; see also United States v. Kearney, 750
F.2d 787, 790-91 (9% Cir. 1984).

Rule 11 violations are harmless, unless a substantial right is involved. See United
States v. Ramos, 923 F.2d 1346, 1357 (9% Cir. 1991), citing Federal Rule of Criminal Procedure |
Rule 11(h) and United States v. Sanclemente Bejarano, supra., 861 F.2d at 210; see also Gigot, -
supra., 147 F.3d at 1197. A defendant’s knowledge of the correct statutory maximum term of
_ imprisonment is a substantial right. See id., citing Rule 11(h), Sanclemente Bejarano and United
States v. Jaramillo Suarez, 857 F.2d 1368, 1372 (9" Cir. 1988). Affirmative misstatements of
the maximum potential term of imprisonment can lead to reversal. See Pitts y. United States,
763 F.2d 197, 201 (6" Cir. 1985); see Avalos v. Curry, 2011 U.S. Dist. LEXIS 138050 *9
(N.D.Ca. Alsup, J) (providing a thorough explanation of why an overstatement of the potential
statutory maximum term of imprisonment is more likely to induce a defendant to enter a plea of
guilty); see also United States v. Mitchell, 398 Fed. Appx. 159, 162 (6" Cir. 2010), citing United

States v. Stubbs, 279 F.3d 402, 411-12 (6® Cir. 2002) (“It is true that where, as here, a district

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court overstates the maximum potential sentence to which a defendant may be subject, the

misinformation may deprive the defendant of an understanding of the actual consequences he

faces and the true nature of the options available to him, thereby making his plea unintelligent”).
C. Ineffective Assistance of Counsel

The government focuses its ineffective assistance of counsel argument on trial
counsel’s apparent ability to obtain a plea offer to a less serious crime with a correspondingly
lower Guidelines’ sentencing range. See Gov. Opp., Pages 4 through 9, Lines 7 through 20. The
government understandably ignores, in its entirety, Movant’s argument that appellate counsel
was ineffective for failing to recognize the fact that Movant’s appellate waiver was arguably
unknowingly and unintelligently entered into and for failing to raise Movant’s Due Process and
Rule 11 challenges that form the basis of the instant motion on direct appeal. The government
similarly ignores the fact that trial counsel failed to inform Movant that the negotiated plea
resulted in a lesser statutory maximum term of imprisonment to which he could be sentenced.

_ Here, the effectiveness issue is not whether counsel negotiated a plea to a lesser crime or whether
the Guidelines’ suggested range of imprisonment shifted downward by six months on both the
bottom and top ends. What counsel failed to do is to inform Movant that he no longer faced a
possible 20-year sentence for his money laundering conviction. It is this failure which leads to
the conclusion that trial counsel was ineffective.

In order to establish ineffective assistance of counsel, Movant must demonstrate that
counsel’s performance fell outside of the range of competence required of attorneys in criminal
cases. If failing to accurately inform Movant of the statutory maximum possible term of
imprisonment Movant faced is not outside of the range of competence expected of counsel in

criminal cases, it would seem difficult to discern what would. Any counsel in a criminal case, or

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in any litigation, would first and foremost, want his or her client to understand the “worst case
scenario,” as it were. Otherwise, the client would not be able to properly weigh his or her
options, in light of the potential downside of not taking a plea, or settling, as it were.

This is not a case where counsel simply neglected to inform Movant of the maximum
term of imprisonment. Rather, this is a case where the government, Probation Department, and
the Court repeatédly misinformed Movant of his statutory maximum term of imprisonment and
counsel repeatedly validated these misrepresentations by failing to correct them.

In order to prove ineffectiveness of counsel, Movant must also demonstrate that he
was prejudiced by counsel’s ineffectiveness. Here, the standard is the same as for the Due
Process and Rule 11 challenges. Movant must simply demonstrate that, had counsel properly
informed him of the accurate maximum sentence, he would not have entered the guilty plea.

The government also argues that Guidelines miscalculations do not constitute
ineffectiveness of counsel. As Movant’s challenge does not address his Guidelines in any way,
Movant will not respond to this prong of the government’s ineffectiveness argument.

As stated in Movant’s June 12, 2018 Memorandum of Law, Movant’s appellate
counsel was similarly ineffective. While it is correct that the Plea Agreement contained a waiver
of Movant’s right of appeal, any such waiver must be knowingly and voluntarily entered into.

_ Appellate counsel apparently never reviewed the Plea Agreement, the minutes of Movant’s
August 31, 2015 arraignment, the minutes of Movant’s August 31, 2015 guilty plea, the PSR,
and Movant’s Defendant Information Relative to a Criminal Matter. Appellate counsel’s filing

of an Anders brief based solely on Movant’s waiver of appeal fell short of the standards expected

of an appellate attorney in a criminal matter.

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The Ninth Circuit has held that an appeal waiver does not preclude bringing an
appellate challenge to a Rule 11 violation. See Portillo-Cano, supra., 192 F.3d at 1252. Movant
_ was prejudiced by appellate counsel’s ineffectiveness, as his collateral attack of his Plea
Agreement and its related consequences is reviewed by a different standard than the same
challenge would have been reviewed on direct appeal. See United States v. Vonn, 535 U.S. 55,
59, 63-64 (2002) (plain error review applied to an asserted Rule 11 violation on direct appeal but
defendant challenging Rule 11 violation on collateral attack must demonstrate “that the Rule 11
proceeding was ‘inconsistent with the rudimentary demands of fair procedure’ or constituted a
_ ‘complete miscarriage of justice’”), citing Timmreck, supra., 441 U.S. at 783; see also United
States v. Kyle, 734 F.3d 956 (9" Cir. 2013) (same).

D. The Government’s Two Exhibits

The government offered two exhibits in support of its arguments. Although the
- Federal Rules of Evidence arguably preclude the government’s inclusion of these exhibits,
Movant does not object to the Court’s consideration thereof, solely for the purpose of ruling on
the instant motion.

Government Exhibit 1 is a copy of a June 2, 2015 letter from Movant’s trial counsel,
Steven H. Levin, Esq., to AUSA William Frentzen, the lead prosecutor on Movant’s matter (the
“June 2™4 Letter”). The copy of the June 2™ Letter offered by the government as Exhibit 1 has
what appears to be handwritten annotations on it, including the number “1957” written on the
left-hand side ofthe first page. The other handwritten annotations appear to be underlines
designed to emphasize certain points of Mr. Levin’s letter to AUSA Frentzen. According to Mr.
Levin, he has reviewed government’s Exhibit 1 and the handwriting on that Exhibit does not

appear to be his, nor does he have any recollection of making those handwritten annotations. See

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August 16, 2018 Declaration of Steven H. Levin, Esq., Paragraph 2. Furthermore, Mr. Levin
clarifies the June 2" Letter by explaining that his reference to money laundering in the last
paragraph of page 1 was to 18 U.S.C. §1957, not 18 U.S.C. §1956.> See id., Paragraph 3.

The government’s second exhibit is a so-called “red-line” version of the Plea
Agreement. It is also apparently offered to discuss plea negotiations between the parties.

Whilé the government offers the June 2" Letter in an effort to support its argument
that Movant was always willing to plead to money laundering, whether it be 1956 or 1957, the
government fails to address the procedural process by which the negotiations were finalized, and

the effect thereof, when viewed from Movant’s perspective. Movant in no way denies that he
was willing to accept a plea of guilty to 1957 money laundering. After all, he did, in fact, plead
guilty to 1957, based upon his understanding that he faced a potential term of imprisonment of
20 years thereon. He was not, however, willing to plead guilty to obstruction of justice. When
the government insisted upon the inclusion of a count of obstruction of justice as a condition of
the Plea Agreement, Movant was advised that he would face no additional sentencing exposure
because of the Guidelines’ grouping rules. See Movant’s May 25, 2018 Declaration, Page 3,
Paragraph 8, Document Number 169-11 herein. Indeed, the government concedes this very point
in its opposition brief. See Gov. Opp., Page 9, Lines 11 through 13. In reality, the obstruction of

_ justice count carried double the maximum penalty as the money laundering count.

Under these circumstances, Movant was left with little choice. While the Plea
Agreement, when viewed in the light most favorable to the government, arguably offered the

minimal benefit of a six-month reduction in the bottom and top end of his Guidelines range of

 

3 The government’s apparent effort to self-clarify the June 2, 2015 Letter is difficult to reconcile
with its claim in the Gov. Opp. that Mr. Levin was referring to 18 U.S.C. §1956. See Gov. Opp.
_ Page 2, Lines 17 through 19.

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imprisonment, the range must be compared with the maximum potential sentence that he thought
he faced. Exposure to a potential 71-month sentence may seem quite reasonable when facing a
20-year potential sentence, but not reasonable at all if only facing a 10-year potential maximum.
CONCLUSION
For the foregoing reasons, Movant’s sentence and judgment must be vacated and he
must be allowed to withdraw his waiver of indictment. Movant agrees with the government that

no evidentiary hearing is necessary to properly resolve this motion, as there remain no disputed

issues of material fact.

Dated: August 24, 2018
New York, New York

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